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                    IN THE UNITED STATES DISTRICT COURTDISTRICT OF NEBRASKA
                        FOR THE DISTRICT OF NEBRASKA
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GARYLAMONTAB~


                    Plaintiff,
                                                                   'g '.l t>M l ~1
                                                                  COMPLAINT & INDEX
                                                                       OF EVIDENCE
                 Vs.

FARMERS INSURANCE ET AL;

LIBERTY MUTUAL ET AL;

                    Defendants,

SHORT CAPTION: GARY AB~ VS FARMERS INSURANCE

                                    JURY DEMAND

    OTHER PARTIES THAT ARE NEITHER PLAINTIFFS NOR DEFENDANTS:

Plaintiffs complain also on behalf of other directly or proximately injured entities, which
injury or damage arises from Defendants' tortious actions which made necessary certain
existing contractual agreements, to insure Plaintiffs' survival. These parties are:

   1. Kellogg Credit Union, Lakeside Hospital, Annette Nared, Miller Orthopedic,
      Medicare/Medicaid, Bondesson Auto Collision and Repair, Mick Manley Sr,
      Mick Manley Jr. Enterprise Rent a Car; Plaintiffs' various healthcare givers who
      may have not been paid, or not paid with interest due them through the systematic
      pattern of Bad Faith, Breach of Contract and intentional avoid, delay defer paying
      activity alleged herein; Others whose proper payments were unnecessarily
      delayed with exactly the same purpose and motive, of which Plaintiffs complain
      herein; as well as other unknown injured parties that may yet be discovered.

           THESE PARTIES ARE INCLUDED IN ACCORDANCE WITH THE
                       PROVISIONS OF FRCP RULE 71.

DEFENDANTS, Their Agents, Servants and Employees;

   1. Foremost Insurance Group (address unavailable)
   2. Farmers Insurance Group
   3. Bristol West Auto Insurance Hollywood, FL 33022
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4. Liberty Mutual Fire Insurance Company Warrenville, 11 60555



                      JURISDICfiONAL STATEMENT

1. This Court has jurisdiction over the subject matter of the within action pursuant to
   (statutory jurisdictional basis, e.g., 28 U.S.C. § 1332) as the action is between
   citizens of different states and the amount in controversy exceeds $75,000,
   exclusive of interest and costs.

2. Plaintiffs aver on information and belief, and upon reasonable investigation and
   research that Federal RICO laws 18 USC 1961-1968 do not frustrate the goals of
   any laws regulating instmmce in either the States of Nebraska or of California,
   and further that The District Federal Court of The State of Nebraska has
   jurisdiction in this matter by Federal Statute and by Diversity:

3. Federal District court has jurisdiction over federal questions, and by statute over;

a.   18   USC 1962(a)-(d)
b.   18   USC 1964(c)
c.   18   usc 1951
d.   28   usc 1331
e.   28   USC 1339

4. There is Diversity of Citizenship, 28 USC Sec. 1332,regarding the tortious actions
   alleged and violations of 18 USC 1962 (RICO), and 18 USC 1951 (Hobbs) by
   Defendants, since continuity of these actions spans to this Very Day Of


a. Bristol West Insurance is a wholly owned subsidiary of Farmers Insurance Group,
   and Farmers Insurance Group does business in many States of the United States;
   the home offices of Farmers Insurance Group are in the State of California, of
   which it is also a citizen, while Bristol West Insurance, upon information, belief
   and reasonable investigation is licensed by the State of Flordia, and the State of
   Nebraska to do business within those, and possibly other States, and that it does
   business only or primarily within the State of Nebraska.

5. The Parent company, Farmers Insurance Group does business in the State of
   Nebraska and has representatives in The Mid Western District ofNebraska. On
   information and belief, Bristol West Insurance is a Foreign Corporation doing
   business in the State Of Nebraska; and further that other incorporated entities
   (Foremost Insurance Group) bearing the name "Farmers Insurance Group" are
   incorporated subsidiaries wholy owned by Farmers Insurance Group and are
   therefore controlled by Farmers Insurance Group, and that the policies of claim
   handling in these entities are the dictates of Farmers Insurance Group. This is
   based on information available in Best's.
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   6. Defendant, Liberty Mutual Insurance is a corporation organized and existing
      under the laws of the State of Nebraska with a principal place of business at
      27201 Bella Vista Pkwy, Warrenville, IL 60555.


COMES NOW, The Plaintiff, Gary Abraham asserted causes of action for breach of
contract, breach of the implied covenant of good faith and fair dealing (bad faith) by
Farmer Insurance and unfair business practices by defendant's Liberty Mutual Insurance
and Fanner Insurance


   FIRST CAUSE OF ACTION FOR BREACH OF CONTRACT AND FRAUD

   1.   Plaintiff, Gary Abraham, is a citizen of the State ofNebraska, County of
        Douglas, and resides at 3327 N 163rd Plaza #302, in Omaha, 68116.

   2. Defendant, Fanners Insurance is a corporation organized and existing under the
      laws of the State of Nebraska with a principal place of business at 4680 Wilshire
      Blvd Los Angeles, CA 90010.

   3. Plaintiff, Gary Abraham is ignorant of the true names and capacities of defendants
      sued herein as DOES I through X, inclusive, and therefore sues Fanners Insurance
      these defendants by such fictitious names. Plaintiff Gary Abraham will amend this
      complaint to allege their true names and capacities when ascertained.

   4. Plaintiff Gary Abraham informed and believes thereon alleges that, at all times
      herein mentioned, each of the defendants sued herein was the agent and employee
      of each of the remaining defendants and was at all times acting within the purpose
      and scope of such agency and employment because they enter into a oral contract
      between each other to cause Plaintiff harm.

   5. On or about January 03, 2010, Defendant Farmers Insurance Group through its
      subsidiary Bristol West Insurance, conspired to sell Plaintiffs a policy of
      automobile insurance which Defendants alter policy without Plaintiff Permission
      or knowledge, and upon which Plaintiffs relied on as a peace of mind. A copy of
      which is attached hereto as Exhibit "A" and made a part hereof.

   6. On or about January 03,2010, Defendant Farmers Insurance Group through
      various of its employees began a continuing conspiracy to defraud plaintiffs of
      benefits for which he had paid or thought he was paying under that policy of
      Farmers Insurance Group not Bristol West.

   7. In so doing, Defendant Fanners Insurance Group has committed Conspiracy to
      commit fraud which has been consummated and continues to exist through the
      instruments of other unlawful acts of Using Bristol West and Foremost Insurance
      which Plaintiff thought he was insured by Farmers Insurance Group.
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8. As a result of this conspiracy, Plaintiffs have sustained permanent damages to his
   property and person. Farmers Insurance and Bristol West Insurance have
   perpetrated on Plaintiff for a period beginning on or about January 2010 and
   continuing to the present.

9. Between March 04,2013 and April 02,2013, Defendant Bristol West through its
   employees, attempted to enter into a conspiracy with Liberty Mutual Insurance, in
   their fraudulent scheme to low ball Plaintiff Gary Abraham repairs and rental car
   coverage which they could use for that purpose.

10. Defendant, Farmers Insurance and Liberty Mutual representative through their
    employees, attempted to influence repair estimate report by sending their
    employees to take over control of Plaintiff Claim by bargaining, negotiations and
    settlement with Bondesson Auto Collision and H&H Chevorlet information
    appropriate to their interest in controlling this claim damages to plaintiff car, but
    wholly irrelevant to Plaintiff getting his car properly fixed. By using Plaintiff
    coverage's.

11. Plaintiff has performed all conditions, covenants, and promises required by him
    on his part to be performed in accordance with the terms and conditions of the
    contract.

12. On or about March 03,2013 the defendant, Farmers Insurance breached the said
    policy by particley and or not providing coverage's to its insured at all.

13. By reason of defendant, farmer's insurance breach of said contract as herein
    alleged, the plaintiff, Gary Abraham has suffered damages and loss of
    employment. Defendants Farmers Insurance and Bristol west has dealt
    unconscionably with Plaintiff Gary Abraham in its unconscientiously use of its
    power arising out of its own relative position of superiority and resulting in an
    unconscionable bargain that is the policy that left Plaintiff not in a peace of mind
    and cause loss and pain and suffering



SECOND CAUSE OF ACTION FOR BAD FAITH AND UNFAIR BUSINESS
                      PRACTICES.

       1. Defendant Farmers Insurance had, and still has a fiduciary duty to Plaintiff
          Gary Abraham to act in Plaintiffs, i.e., their insured's interest over their
          own interest. It did not.

       2. Plaintiff was unjustifiably accused of fraud/wrongdoing from start to
          finish of filing a claim with defendant farmers Insurance which cancered
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         claim handling by Liberty Mutual Insurance to believe Plaintiff did
         something fraudulently wrong.

      3. Plaintiff was forced to give up some the fight against the liberty Mutual
         Insurance company because Defendant, Farmers Insurance had came up
         with a strategic to defeat fail claim handling by the liberty Mutual
         insurance company by Defendant, Fanners Insurance forcing plaintiff to
         go through his own insurance company.

      4. Defendant's Farmers Insurance and Liberty Mutual Insurance refused and
         ignore pertinent communication and adjustment in reference to the claim
         as a whole.

      5. Defendant, Farmer Insurance give no reasonably explanation as to why
         benefits under plaintiff policy was being delay through any type of written
         communication which Plaintiff ask for in written communication to them.

      6. Defendant's Farmers Insurance and Liberty Mutual Insurance
         communicated to plaintiff to give up on certain benefits rights under
         plaintiff policy in order to obtain the benefits allowed under the policy.

      7. As of Today, Defendant, Farmers Insurance has delay the payment of
         plaintiff claim even though they agreed, they enter into with each other
         (liberty insurance company) once it became clear that Liberty Mutual
         Insurance was 100% liable to pay the claim.

      8. Defendant through is Policy Booklets (language, expectations, exclusions
         etc.. ) not only tried to attempt to hide policy information but concealed
         relevant truth to the claim regarding the claim to prejudice Plaintiff to be
         dealt with fairly by anybody mention above (others parties) and Liberty
         Mutual claim representatives.

      9. Defendant, Farmers Insurance never explain policy coverage's or benefits
         in detail as to policy limits, languages or meaning nor was plaintiff given
         the chance or opportunity to question or concur with Defendant policy
         coverage's or benefits.

      10. Defendant's Farmers Insurance and Liberty Mutual use rental car coverage
          as an tactic to deny plaintiff repairs/total loss to my car by calling
          enterprise rental car and canceling rental car coverage's for no real reason.
          Furthermore admitted the mistake than tried to correct it with Plaintiff by
         change communication when talking to enterprise rental car.

      11. Plaintiff reported to Defendant, Farmers Insurance an injury after the Hit
          and Run accident on March 03, 2013. Than was denied liability by
          defendant Liberty Mutual for the purpose of the claim.
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       12. The defendant's unreasonable conduct was a cause of the plaintiff's loss of
           employment and pain and suffering cause by the injury that defendant's
           refuse to pay.

       13. Defendant's Failing to affirm or deny coverage of a claim within a
           reasonable time after having completed its investigation related to such
           claim. But instituting on its own power the moving of Plaintiff car to a
           storage shop located 23 miles away and aurthoration rental car coverage
           and than mysteriously taken it away for no founded reason

       14. Defendant's both, Farmers Insurance and Liberty Mutual Failure to adopt
           and implement reasonable standards to assure that the repairs of a repairer
           affiliated with the insurer are performed in a skillful manner. For purposes
           of this subdivision, a repairer is affiliated with the insurer if there is a
           preexisting arrangement, understanding, agreement, or contract between
           the insurer and repairer for services in connection with claims on policies
           issued by the insurer which Defendant establish that communication when
           it stop communicating with Plaintiff and communicating with The Auto
           Body Shop.

       15. Defendant Farmers Insurance Group, refuse to honor plaintiff policy
           clause, uninsured or underinsured coverage when it had a duty to
           compensate plaintiff for any loss plaintiff had suffered, which is not
           covered by the insurance policy of the person or entity causing Plaintiff
           injury or damage under 44-1540. Unfair claims settlement practice; acts
           and practices prohibited. Any of the following acts or practices by an
           insurer, if committed in violation of section 44-1539, shall be an unfair
           claims settlement practice.

       16. Failing to provide coverage information or coordinate benefits pursuant to
           section 68-928.



                       DAMAGES SEEN AND UNSEEN

1. As a direct and proximate result of the negligence and carelessness of the
   Defendant's, the Plaintiff:

a. suffered serious, painful and permanent bodily injuries, great physical pain and
   mental anguish, severe and substantial emotional distress, loss of the capacity for
   the enjoyment of life;
b. was, is and will be required to undergo medical treatment and to incur medical
   costs and expenses in order to alleviate injuries, pain and suffering;
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    c. was, is and will be precluded from engaging in normal activities and pursuits,
       including a loss of ability to earn money and of actual earnings;
    d. and, otherwise was hurt, injured and caused to sustain losses.


                                      INDEX OF EVIDENCE

                 1. Plaintiff Policy Booklet by Farmer's "A" exhibit
                 2.   Police Report of March 03,2013
                 3.   Estimate From Liberty Mutual Claim Adjuster
                 4.   Estimate From Farmers Insurance
                 5.   Estimate From Bondesson Auto Collision
                 6. Lakeside Emergency Room Discharge notes and bill
                 7. Miller Orthopedic doctor bill
                 8. Communications between Plaintiff and Defendant's emails
                 9. Defendant's Auto Declaration I0/25/I2- 4/25/13.
                 I 0. Department of Insurance Complaint
                 11. Receipt for Police Report.
                 12. Plaintiff Up Keep History

WHEREFORE, PLAINTIFF PRAYS, for judgment against defendants, and each of them
as follows:

                 13. For the sum of $260,000 for breach of contract and the value of its
                     performance.

                 I4. For interest thereon at the legal rate from and after January 20IO.

                 15. For $75,000 general damages for defendants' fraud.

                 16. For punitive damages according to proof.

                 I 7. For reasonable attorneys' fees and costs incurred herein.

                 18. For such other and further relief as the court may deem just and proper.

                 19. 135.00 in actual Damages Cause By Defendant's


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